                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


DANIEL ANACACY,                                      Case No. 2:19-cv-07126-ENV-RLM

                        Plaintiff,

       v.                                            AFFIRMATION OF SERVICE

PANERA, LLC, DOHERTY ENTERPRISES,
INC., DOHERTY BREADS, LLC and JOHN
DOE,

                        Defendants.


       ERIK P. PRAMSCHUFER, an attorney duly authorized to practice law before this

Court and the courts of the State of New York, hereby affirms under penalty of perjury that PDF

copies of (1) the Defendants’ Notice of Motion to Dismiss Plaintiff’s Complaint; (2) the

Declaration of Dena B. Calo; (3) the Defendants’ Memorandum of Law in Support of their

Motion to Dismiss Plaintiff’s Complaint; and (4) this Affirmation of Service, were served on this

date on the below counsel, via e-mail, as agreed between the parties:

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                                       Attorney for Plaintiff


Dated: April 17, 2020                                __/s/ Erik P. Pramschufer_____
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